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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

IN RE: TESTOSTERONE            )                      Case No.: 1:14-cv-01748
REPLACEMENT THERAPY            )                      MDL NO. 2545
PRODUCTS LIABIILITY LITIGATION )                      JUDGE MATTHEW F. KENNELY

THIS DOCUMENT RELATES TO:
ARMANDO J. ROBERTO, JR. AND ELIZABETH E. ROBERTO, #1:15-cv-7085

                          MEMORANDUM IN SUPPORT OF
               PLAINTIFF’S MOTION TO VACATE ORDER OF DISMISSAL


        NOW COME the Plaintiffs, Armando J. Roberto, Jr., and Elizabeth E. Roberto, by and

through their attorneys, Rilee & Associates, P.L.L.C., and hereby respectfully submit the following

Memorandum in Support of Plaintiff’s Motion to Vacate Order of Dismissal, stating in support

thereof as follows:

                            STATEMENT OF MATERIAL FACTS

        1.      On August 12, 2015, the Plaintiffs timely and directly filed their lawsuit captioned

Roberto, et al. v. AbbVie Inc., et al., #1:15-cv-07085 into MDL 2545, alleging that Plaintiff

Armando J. Roberto, Jr.’s 2014 diagnosis of deep vein thrombosis (“DVT”) was caused by his use

of AndroGel.

        2.      On December 13, 2015, the Plaintiffs timely and completely submitted a Plaintiff

Fact Sheet (“PFS”), blank medical authorizations, and a complete copy of the Plaintiff’s entire two

hundred and twenty-seven (227) page medical record to the Defendants, with no resulting

“Deficiency Notice” sent by the Defendants to the Plaintiffs. See Exhibit 1 – Affidavit of Cyrus

F. Rilee, III, Esq.

        3.      On January 18, 2019, following the global settlement of MDL 2545, as part of their

participation in the Androgel Resolution Program, the Plaintiffs timely and completely submitted

their claim information to the Defendants through the Androgel Settlement Portal, which included
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a fully completed Plaintiff Profile Form (“PPF”) executed by the Plaintiff on January 12, 2019.

See Exhibit 1.

       4.        On March 2, 2019, undersigned counsel learned that, on February 19, 2019, the

Plaintiffs’ claim was deemed “ineligible,” with the explanation given as “Litigation Status”: {-

>Dismissed}. See Exhibit 1.

       5.        On the same date, after spending hours sorting through hundreds of ECF emails

and underlying pleadings in MDL 2545, undersigned counsel learned, for the first time, the

following:

       a.        On December 8, 2017, this Honorable Court issued Case Management Order
                 (“CMO”) No. 85, ordering all Plaintiffs to submit a Supplemental Plaintiff Profile
                 Form (“PPF”) (Document #2295);

       b.        On April 6, 2018, this Honorable Court issued CMO No. 110, Order to Show Cause
                 Pursuant to CMO No. 85, ordering certain Plaintiffs to show cause why their
                 lawsuits should not be dismissed for failure to comply with CMO No. 85, which
                 included the Plaintiffs (Document # 2434);

       c.        On April 6, 2018, this Honorable Court issued a text entry accompanying CMO
                 No. 110, stating that “[t]he Plaintiff’s Steering Committee is directed to make best
                 efforts to ensure that this order is brought to the attention of counsel in the identified
                 cases. (mk).” (emphasis added); and

       d.        On May 11, 2018, this Honorable Court issued CMO No. 118, dismissing one
                 hundred and fifty-nine (159) lawsuits with prejudice for failure to comply with
                 CMO No. 85, which included the Plaintiffs’ lawsuit (Document # 2612).

See Exhibit 1.

       6.        The Plaintiff’s Steering Committee did not contact undersigned counsel at any time

between December 8, 2017 and May 11, 2018. See Exhibit 1.




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                                          ARGUMENT

       The Court may relieve a party or its legal representative from final judgment, order or

proceeding for (1) mistake, inadvertence, surprise, or excusable neglect or (6) any other reason

that justifies relief. Fed.R.Civ.P. 60(b)(1); (6). The Court also has the power to alter or amend a

judgment. Fed.R.Civ.P. 59(e).

       Dismissal of an action with prejudice is a severe sanction “applicable only in extreme

circumstances.” Ford v. Fogarty Van Lines, Inc., 780 F.2d 1582, 1583 (11th Cir. 1986) (quoting

State Exchange Bank v. Hartline, 693 F.2d 1350, 1352 (11th Cir. 1982)). Because dismissal with

prejudice “defeats altogether a litigant’s right to access to the courts,” Loya v. Desert Sands

Unified School District, 721 F.2d 279, 280 (9th Cir. 1983), it should be used as “a weapon of last,

rather than first, resort.” Magette v. Dalsheim, 709 F.2d 800, 803 (2nd Cir. 1983 (citing Meehan

v. Snow, 652 F.2d 274, 277 (2nd Cir. 1981 (per curiam)). Generally, a court should dismiss a claim

only where there has been a “clear record of delay or contumacious conduct by the plaintiff.” Ford,

780 F.2d at 1583 (quoting Graves v. Kaiser Aluminum & Chemical Co., 528 F.2d 1360, 1361 (5th

Cir. 1976)); Pardee v. Stock, 712 F.2d 1290, 1292 (8th Cir. 1983) (quoting M.S. v. Wermers, 557

F.2d 170, 175 (8th Cir. 1977); John v. State of Louisiana, 828 F.2d 1129, 111 (5th Cir. 1987)

(quoting Price v. McGlathery, 792 F.2d 472, 474 (5th Cir. 1986) (per curiam)); see also Hollis v.

United States, 744 F.2d 14340, 1432 (10th Cir. 1984) (“Dismissals for failure to follow the orders

of the court are often the consequences of extended or repeated failure by litigants to adhere to

ongoing orders of the court.”); Farmers Plant Food v. Fisher, 746 F.2d 451, 452 (8th Cir. 1984)

(“Dismissal … should be used only in cases of willful disobedience of an order of court or

persistent and continued failure to prosecute a complaint.”).

       Perhaps most importantly, dismissal is usually only appropriate “where a lesser sanction

would not serve the interest of Justice.” Cohen v. Carnival Cruise Line, Inc., 782 F.2d 923, 925



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(11th Cir. 1986). As the Seventh Circuit has recognized, “the particular sanction of dismissal with

prejudice or judgment is ‘draconian,’ and ‘must be infrequently resorted to by the district courts.”

Barnhill v. United States, 11 F.3d 1360, 1367 (7th Cir. 1993) (citing Marrocco v. General Motors

Corp., 966 F.2d 220, 223(7th Cir. 1992); Schilling v. Walworth County Park & Planning Comm’n,

805 F.2d 272, 275 (7th Cir. 1986). As the Schilling court explained:

       In the normal course of events, justice is dispensed by the hearing of cases on their merits;
       only when the interests of justice are best served by dismissal can this harsh sanction be
       consonant with the role of the courts. We have previously indicated the limited
       appropriateness of the sanction of dismissal: “A dismissal with prejudice is a harsh sanction
       which should usually be employed only in extreme situations where there is a clear record
       of delay or contumacious conduct, or when other less drastic sanctions have proven
       unavailing.” Absent those circumstances, the careful exercise of judicial discretion
       requires that a district court consider less severe sanctions and explain, where not obvious,
       their inadequacy for promoting the interest of justice.

Id. (quoting Webber v. Eye Corp., 721 F.2d 1067, 1069 (7th Cr. 1983)).

       Here, the conduct does not rise to the level of warranting the severe sanction of dismissal

with prejudice. Plaintiffs’ failure to comply with CMO No. 85 was caused by inadvertence and

excusable neglect, and was not the result of contumacious conduct or by persistent disobedience

of court orders. In the voluminous flurry of pleadings and orders in this case, undersigned counsel

neglected to notice that CMO No. 85 applied to Plaintiffs’ lawsuit. As such, undersigned counsel

did not appreciate that any subsequent pleadings, hearings, or orders pertaining to CMO No. 85

related in any way to Plaintiffs’ lawsuit. Moreover, following this Honorable Court’s April 6,

2018 Order to Show Cause, in which this Honorable Court ordered that “[t]he Plaintiff’s Steering

Committee is directed to make best efforts to ensure that this order is brought to the attention of

counsel in the identified cases,” (emphasis added), the Plaintiff’s Steering Committee did not

contact undersigned counsel or otherwise ensure that the order was brought to his attention. See

Exhibit 1. Had the Plaintiff’s Steering Committee done so, the Plaintiffs would have immediately

complied with CMO 85, submitted the PPF, and cured the defect. In addition, following the May



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11, 2018 dismissal of Plaintiffs’ lawsuit, undersigned counsel continued to receive ECF

notification of pleadings and orders in MDL 2545, such that undersigned counsel had no reason to

suspect that Plaintiffs’ lawsuit had been dismissed. The Plaintiffs have otherwise complied with

all other deadlines, including December, 2015 submission of the PFS, medical records, and

medical authorizations, and the Plaintiffs have never asked for an extension or relief from a

previous Order of this Court.

       Moreover, the Defendants were not prejudiced by the Plaintiffs’ failure to comply with

CMO No. 85. All of the information requested in the PPF was provided to the Defendants in

Plaintiffs’ PFS and accompanying medical record in December, 2015. See Exhibit 1. Therefore,

it cannot be said that the Defendants suffered any measurable prejudice simply as a result of

Plaintiffs’ failure to provide identical information from the PFS on the PPF. Moreover, the

Plaintiff submitted the PPF to the Defendants in January, 2019 as part of the claims settlement

process, thereby curing (albeit inadvertently and belatedly) the discovery defect or delay. See

Exhibit 1.

       In addition, the Defendants would not be prejudiced if the order of dismissal were vacated

and the Plaintiffs lawsuit were reinstated. In light of the global settlement of MDL 2545 and the

terms of the Master Settlement Agreement (“MSA”), the Defendants’ global liability exposure for

AndroGel claims, including Plaintiffs’ claim, has been capped – meaning that the Defendants

would not have to pay any additional monies to these Plaintiffs that it is not already obligated to

pay in the aggregate to all Plaintiffs under the terms of the settlement. So, the Defendants would

not suffer any prejudice were this Honorable Court to vacate the dismissal and reinstate the

Plaintiffs’ lawsuit, thereby allowing them to participate in the AndroGel Resolution Program. On

the other hand, the Plaintiffs would suffer the ultimate prejudice were they to be prevented from




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participating in the settlement process and recover for their timely and documented claims for

damages.

       Finally, and importantly, the AndroGel Resolution Program architecture and timeline

allows the Plaintiffs until April 12, 2019 to file an Eligibility Appeal. Therefore, should this

Honorable Court vacate the order of dismissal and reinstate Plaintiffs’ lawsuit, the Plaintiffs would

be able to immediately become eligible to participate in the settlement process within the confines

of the current settlement architecture and timeline, without the need for any amendments to the

timeline or any other special accommodations for the Plaintiffs.

                                         CONCLUSION

       In conclusion, under these unique circumstances, and in order to truly avoid inequity and

injustice, this Honorable Court’s May 11, 2018 order dismissing the Plaintiffs’ lawsuit should be

vacated and the Plaintiffs’ lawsuit should be reinstated, such that they be allowed to proceed on

the merits and fully participate in the AndroGel Resolution Program.


                                                      Respectfully submitted,

                                                      ARMANDO J. ROBERTO, JR. AND
                                                      ELIZABETH E. ROBERTO,

                                                      By Their Attorneys,

                                                      RILEE & ASSOCIATES, P.L.L.C.


   Date: March 3, 2019                        By:     /s/ Cyrus F. Rilee, III_____________
                                                      Cyrus F. Rilee, III, Esq., #15881
                                                      264 South River Road
                                                      Bedford, NH 03110
                                                      t. 603.232.8234
                                                      f. 603.628.2241
                                                      e. crilee@rileelaw.com




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                               CERTIFICATE OF SERVICE

  I hereby certify that a copy of the foregoing Memorandum in Support of Plaintiffs’ Motion to
  Vacate Order of Dismissal has been served this day via CM/ECF on all counsel of record.


  Date: March 3, 2019                     By:    /s/ Cyrus F. Rilee, III_____________
                                                 Cyrus F. Rilee, III




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